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                  IN THE UNITED STATES DISTRICT COURT


                        FOR THE DISTRICT OF HAWAII



  YA-WEN HSIAO,                             CIVIL NO. 18-CV-00502-JAO-KJM


                    Plaintiff,              MEMORANDUM OF SUPPORT
                                            FOR PLAINTIFFS OPPOSITION
       vs.                                  TO DEFENDANTS MOTION TO
                                            DISMISS;
  ALEXANDER ACOSTA,in his
  capacity as the United States Secretary   CERTIFICATE OF SERVICE
  of Labor,
                                            EXHIBITS
                  Defendant.                Exhibit 1 — Letter from Dean of JABSOM
                                            Exhibit 2- Work Permit Approval
                                            Exhibit 3- FOIA Email THead
                                            Exhibit 4-FOIA Tracking Screenshots
                                            Exhibit 5 -BALCA Bench Book Chapter 24
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                                 INTRODUCTION

 The Defendants has moved the court to dismiss the instant case pursuant to Federal
 Rules of Civil Procedure 12 (b)(1) claiming the court has no jurisdiction over this
 case due to the PlaintifFs lack of Constitutional and Prudential Standing,
 In the interest of brevity, efficiency and clarity of arguments, the memorandum of
 support herein initially follows the Defendant's headings in their Memorandum in
 Support of Dismissal. The Plaintiff does not construe the headings in the memo as
 allegations that needs to be addressed but will address the merits in the paragraphs
 that is addressed in that heading. To the extent that a response is expected, the
 Plaintiffs oppose and deny the allegations contained in the headings.
 The arguments stated here primarily address issues ofstanding and allegations made
 by the defendant. The Plaintiff does not reach every issue in the initial pleading.
 Therefore, an omission of an issue that is present in the original complaint and not
 addressed here should not be construed as a waiver ofthose arguments.

 This memorandum of opposition was written in haste to accommodate for the
 Plaintiffs request for an urgent hearing on the matter. The Plaintiff apologizes for
 redundant and typographical errors which may have been overlooked.


                        STATEMENT OF JURISDICTION

 The Plaintiff agrees that she invoked the jurisdiction of this court under the
 Administrative Procedure Act and 28 USC § 1331.


                                ISSUE PRESENTED

 The Plaintiff agrees that the issue in this motion filed is based on constitutional and
 prudential standing.
 The Plaintiffin this opposition raises the issue ofwhether the Defendant has actually
 established standing for the Plaintiff with regards to an Alien beneficiary for a Labor
 Certification application bringing an action to Federal District Court.




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 The Plaintiff accuses the Defendant of filing a libelous, scandalous and frivolous
 Motion to Dismiss. The libelous and scandalous accusation is endangering her and
 her family's security.
 The Plaintiff moves this court to censure and sanction the Defendant. In the interest
 ofjustice, order the Defendant to show cause to the court as explaining the untruthful
 allegations stated.
                          STATEMENT OF THE CASE

 The Plaintiff generally agrees with the characterization the Defendant presents here.
 An important factor however, is inaccurate, which leads the Plaintiffto question the
 Defendants understanding ofthe case at hand.
 The defendant stated: "In the Application, the Employer asserted that it sought to
 employ Plaintiff as an information technology specialist."
 To clarify, the Plaintiff is currently legally employed by the Employer. The
 employer's PERM application is an assertion by the Employer that it was sponsoring
 her for a Labor Certification which would allow her to file for permanent residence.


             STATUTORY AND REGULATORY BACKGROUND

 The Plaintiff agrees with the characterization on the process of obtaining lawful
 permanent residence through the means of employment.
 The defendant has accurately stated that the prospect of gaining a lawful permanent
 status and continued employment by the Alien is contingent on the Employer
 sponsoring her as a beneficiary ofthat application.
 In ETA,Final Rule, Labor Certification for the Permanent Employment of Aliens in
 the United States; Reducing the Incentives and Opportunities for Fraud and Abuse
 and Enhancing Program Integrity, 72 Fed. Reg. 27903(May 17, 2007). Which can
 be found at:

 https://www.oali.dol.gov/PUBLIC/INA/REFERENCES/FEDERAL REGISTER/R
 EGULATORY HISTORY OF PERMANENT LABOR CERTIFICATION RE
 GULATIONS.HTM - Prohibits the substitution of alien beneficiaries on permanent
 labor certification applications and resulting certifications. This simply means that
 the application that the Employer submitted in sponsoring the Plaintiffis exclusively
 for her.

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                         SUMMARY OF THE ARGUMENT

 The Defendants claims on standing fails because as the Defendant stated, the
 Plaintiff is the beneficiary of the Labor Certification Application made by the
 Employer.

 While it is true that the application belongs to the employer,the Plaintiff is the sole
 beneficiary ofthat application. The regulations will not allow the Employer to"give"
 that Labor Certification to any other Alien looking to gain a lawful permanent status
 or a "Green Card".

 However desperate the Defendant is to paint the picture of the Alien as "merely" a
 beneficiary or a third party who has no interest in the application,the Plaintiffis the
 sole beneficiary for this application.
 The Defendant seems to miss a general idea of this complaint: The denial of an
 approved Labor Certification to the Employer has denied her the ability to work after
 her current visa expires. The denial also deprives her of the ability to take the
 following steps in gaining lawful permanent status.
 This is a concrete "injury-in-fact" that is clearly traceable to the unjustified and
 unlawful actions by the Defendant. The Defendant's motion to dismiss seems a bit
 outlandish given the fact that the Defendant just recited the whole premise of why
 the Plaintiff is bringing this action to this court.
 The Defendant further contends that the plaintiff lacks prudential standing because
 she is not within the "zone of interest" contemplated by the statute being invoked.
 Again, this fails simply by looking and reading the Statutory and Regulatory rules
 that the Defendant just mentioned. The Plaintiff is regulated by the Labor
 Certification Rules wherein she may or may not file for an 1-485 to adjust her status
 to that of a lawful permanent resident.
 The Plaintiff also opposes and denies that the allegation of the DOL violating it
 FOIA regulations is moot. The Defendant claims that they have fulfilled their
 responsibilities and statutory duties but evidence shows that they are being deceitful
 on this claim. To the date of this memorandum, the Plaintiff still has not received
 the responsive documents.




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                                    ARGUMENT

    A. Standard of Review Under Federal Rules of Civil Procedure 12(b)(1)
 The plaintiff generally agrees with the characterization.
 The Plaintiffadds that in considering a motion to dismiss under Rule 12(b)(1), courts
 must construe the pleadings in the light most favorable to the nonmoving party and
 view the facts in the complaint as true.
    B. Constitutional and Prudential Standing
 The plaintiff agrees with the characterization presented by the defendant here. This
 section is general statements about standing. The plaintiff will address the arguments
 as the defendant applies these general statements specifically to her.
    C. Plaintiff lacks constitutional standing to challenge the denial of the
       Employer's Application, as she is not the applicant but merely the
       beneficiary.

 The Defendants' claim that the Plaintiffis a third party in this case fails because the
 denial oflabor certification by the employer directly and solely benefits the Plaintiff
 in securing the first step in applying for lawful permanent residence status.
 The Defendant seems to forget that they are the Department ofLabor,not the United
 States Customs and Immigration Services (USCIS). The multiple caselaw that the
 Defendant presented are predominantly cases involving the USCIS,the sole agency
 who has the statutory right to issue visas. The cases that the Defendant cites are
 multiple cases where the parties involved are involved in litigation with the USCIS,
 the department responsible for approving or denying visas.
 The Defendant oddly seems to have forgotten what they have stated in "Statutory
 and Regulatory Background".

 The Defendant states: "Simply put, approval of the labor certification application
 means that DOL has determined that there are no U.S. workers available for the
 position the company seeks to fill with a foreign worker."

 The Defendant puts forward a litany of caselaw that muddies the arguments,taking
 statements in generalities where it is not applicable in this situation. For instance,
 the Defendant cites George v Napolitano, stating in dictum that the court held that
 the Employer was the sole party with standing to seek review of a denial of a 1-140
 work visa rather than a beneficiary employee.

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 This was a case against the USCIS. Further, in George, the application for Labor
 Certification was actually granted. George then sued USCIS because he switched
 jobs and the USCIS denied him the 1-485 because the previous employer has
 withdrawn the approved labor certification or 1-140.
 The Defendant seems to have a weak grasp ofthe very program they implement,the
 PERM regulations do not confer any "visa benefits" to the alien.In fact, the original
 denial by BALCA in this case, states precisely the regulatory function that the
 Defendant has:

 "The permanent labor certification process is the first step an employer must
 complete in order to sponsor certain foreign workers for lawful permanent resident
 status. 8 U.S.C.§ 1182(a). The labor certification represents the Secretary ofLabor's
 certification that there are no able, willing, qualified, and available U.S. workers for
 the position the alien seeks to perform on a permanent basis. 8 U.S.C. §
 1182(a)(5)(A)(i)(I). PERM is an attestation-based program. 20 C.F.R. § 656.10(c).
 Among other attestations, an employer must attest that the job opportunity listed in
 the application for permanent employment certification has been and is clearly open
 to any U.S. worker. 20 C.F.R. § 656.10(c)(8). Accordingly, the regulations require
 an employer to conduct mandatory recruitment steps and make a good-faith effort to
 recruit U.S. workers prior to filing an application for permanent alien labor
 certification. See 20 C.F.R. § 656.17(e); Labor Certification for the Permanent
 Employment ofAliens in the United States;Implementation ofNew System,69 Fed.
 Reg. 77326, 77348 (Dec. 27, 2004). If the employer's recruitment efforts do not
 yield any able, willing, qualified, and available U.S. workers,the employer may file
 an application on Form 9089. See, e.g., 20 C.F.R. § 656.17(a). An employer
 sponsoring a foreign worker for permanent labor certification bears the burden of
 proving that all regulatory requirements have been satisfied before the CO can grant
 certification. 8 U.S.C. § 1361; 20 C.F.R. § 656.2(b)."
 The Defendant says that the Plaintiff is only a beneficiary, the Defendant however
 fails to state that she is the sole beneficiary. She is in the words the Defendant cites,
 "the proper party having a personal stake in the outcome sufficient to warrant ...
 invocation offederal courtjurisdiction"
 The defendant's contention here indeed describes the Plaintiff and confirms her
 standing to sue.




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    D. Plaintiff lacks constitutional standing because she has not sufficiently
       pled an injury-in-fact that is fairly traceable to Defendant's challenged
       conduct and redressable by a favorable decision.
 The arguments the Defendants make here demonstrates that they have a lack of
 knowledge ofthe very program they implement.
 Either that or they are just filing this motion to dismiss as a delaying measure and
 wasting the court's resources.
 The Defendants also appear to not understand the lawsuit brought to this court.
 The original order by BALCA as quoted above describes the purpose of the Labor
 Certification procedures. It is the first step towards the Plaintiff being able to work
 permanently and gain lawful permanent status. The main premise of this lawsuit is
 the denial of the labor certification not only deprives her of the possibility for
 applying for lawful permanent status, but the basic ability to actually work in this
 country.

 The Plaintiff appreciates the sympathy that the Defendant expresses, but the
 Defendant's five full pages of analysis towards the personal damages is misplaced.
 The Defendant goes into the merits of the allegations the Plaintiff made in the
 complaint and how the Plaintifffails to show causality. The Plaintiffis not a lawyer,
 but it would seem that a motion to dismiss is not an appropriate venue to litigate this
 portion of the case. Further, for the purposes of this motion, the court must take all
 allegations as true.
 The allegation that a favorable ruling for the Plaintiff in this case would not redress
 the injury-in-fact is not true. The court finding in favor ofthe Plaintiff would allow
 her to continue working therefore providing for her family and providing healthcare
 for her child and her husband.

 The Defendant reiterates that"This is only the first step in a three-step" process and
 that even if it was approved, it would not necessarily result in her obtaining an
 employment-based visa. This is an oversimplification of the facts. Yes, it does not
 guarantee an approval of an employment-based visa, but clearly this argument
 speaks directly to the fact that but for the denial,the Employer was denied the ability
 to sponsor the Plaintifftowards the next step.




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 Attached as Exhibit 1 is a letter from the Dean of the School of Medicine after the
 ChiefJudge denied the last motion to BALCA,which will address the lack ofinjury-
 in-fact claim by the Defendant into perspective.
    £. Plaintiff lacks prudential standing because she is not within the **zone of
       interest'' covered by the statute governing alien labor certifications filed
       by employers.
 The Defendant cites Bennett v Spear,in part stating the prudential standing requires
 Plaintiff to show that her alleged injuries did not "arguably fall within the zone of
 interests protected or regulated by the statutory provision."
 The Defendant states that the regulation must be seen as solely protecting US
 workers. The Defendant conveniently leaves out the "regulated" part ofthis quote.
 The Defendant states the relevant provision as 8 USC § 1182(a)(5) and the court
 must only look at it from this perspective. But this it would be ludicrous to claim
 that this Court is forbidden to look beyond a single paragraph. It is ridiculous to
 allege that the Labor Certification regulations only protects"US Citizen Workers".
 A singular intent such as what the defendant asks the court to consider would not
 only be non-sensical, it would be unconstitutional because it would be
 discriminatory. The Defendant seems to have forgotten all of a sudden, the interest
 ofthe US Employer.
 The Labor Certification not only regulates and protects the US Workers, it also
 regulates and protects the Employer who ensures that the Labor Conditions of the
 alien is at par with what they would have offered a US worker.
    1. Congressional Intent Behind Employment Petition and Labor
       Certification Scheme.

 Again, the case stated here is not analogous, in Pai, the issue was about a non
 resident alien waiting to be admitted into the United States.
 More importantly,the Defendant seems to have a knack ofcherry-picking statement
 in caselaw in dictum and taking them out ofcontext.
 Pai in pertinent part said: This Court agrees that the plain language, as well as the
 legislative history of, the numerical limits of Section 1153(b)(3) and the labor
 certification requirements of Section 1182(a)(5)(A) reflect a clear congressional
 concern for protecting the interests ofAmerican labor over those offoreign workers.
 In addition, the congressional concern extends to ensurins that American employers

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 have the ability to hire qualified non-resident alien workers where no qualified
 American workers are available. Pai v. United States Citizenship and Immigration
 Services(D. D.C.,2011)(Emphasis added)
    2. Plaintiffs Interest Are not among the Protected interests.

 Plaintiff vehemently object and abhor the libelous statement the Defendant claims
 in this section. The plaintiff takes offense to the allegation that the Plaintiff is an
 illegal immigrant.
 It is no secret that the current societal climate towards immigrants is one ofanimosity
 and suspicion. Branding the Plaintiff as an illegal immigrant has put her and her
 family's security in jeopardy. It is documented that Immigration and Customs
 Enforcement (ICE) has detained people for mere suspicions, what more an
 accusation by a government agency?
 Attached as Exhibit 2 is the approval from USCIS authorizing the Plaintiff to work
 for the Employer until November of2019. The complete history ofHl-B approvals
 up to the 13^ year is available upon request.
 It is important to note, since the defendant brought it up, and since the defendant
 seems ill versed at programs they actually implement, that Hl-B working visas are
 typically valid for 3 years and renewable once which extends to 6 years. A yearly
 extension is then given to aliens who have pending labor certification applications.
 The Plaintiff is currently on her thirteenth year,(emphasis strongly added)
 Not only has the defendant in writing defamed the Plaintiff, but by association also
 has accused the University of Hawaii of criminal activity in knowingly hiring an
 illegal immigrant.
 The Plaintiff hereby notifies the Defendant that she reserves the right to bring any
 consequences of any future adverse applications to the government against the
 defendant that can be attributed to this imtruthful and unsubstantiated claim. The
 Plaintiff will also refer this motion to the Employer's general counsel for legal
 consideration. The Plaintiff rejects the idea that this statement is covered by
 "litigation privilege" as other serious issues not related to this case nor solely to the
 Plaintiff may arise from this libelous claim.
 Moving on to the merits of the argument by the defendant, it could summarily be
 then said that if the Plaintiff can prove that she is not an unlawful immigrant, the
 Defendant then concedes that the Plaintiffs interests are within the "protected
 interests". See Exhibit 2

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  The Plaintiffs ask the court to order the Defendant to show cause as to why they
  would accuse the Plaintiff without proof as being an illegal immigrant. If the
  Defendant is not able to show good cause for this scandalous and libelous statement,
  the Plaintiff moves the court to strike the motion to dismiss with prejudice or any
  other sanctions that the court would deem fit.



     F. FlaintifTs claim that the DOL failed to respond to her FOIA request is
        moot.

  Attached as Exhibit 3 is the Email thread to the DOL asking for status updates on
  the FOIA request. The plaintiffalso has phone records on the multitude oftimes that
  an update was requested since October of 2018. As mentioned in the original
  pleading,the OALJ has fiimished their part ofthe FOIA request in a timely manner.
  The letter provided by the Defendant apparently proving completing the request
  from the OASAM is not dated, nor has the Plaintiff received the records they claim
  to have sent. The letter attached was received by the Plaintiff through electronic
  means as seen in the Exhibit. Nothing has been received through FedEx, UPS, or
  USPS.

  OASAM,the Human Resource arm of the DOL seems to be manipulating data and
  doing questionable actions. Attached as Exhibit 4 are screenshots taken on January
  30,2019.Ifthese are all standard procedures,then the Plaintiff asks the court for an
  order to the Defendant to show cause why the Defendants lied in its statements. In
  light of evidence of further malfeasance, the Plaintiff asks the court to order the
  Defendant explanations for its actions,in particular, why are they trying to purposely
  hide public information to the point offalsifying data on the FOIA tracking system
  to protect a retired government worker who evidently have committed conflict of
  interest crimes?

  This is the first time the Plaintiff found out that there were 8 pages of responsive
  documents. These are employment documents of an employee with more than 30
  years of service to the DOL. Finally, the FOIA regulations provide for an appeal
  process from the receipt of the letter. Again, the plaintiff has not received any
  documents nor letter from OASAM. The plaintiff has not reviewed any of the
  purported responsive documents and consequently have not had the chance to appeal
  the adequacy of the supposed released records. The email thread ended on January
  30, 2019 without any response from the DOL. For these reasons, the FOIA request
  issue is not moot.


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                               PLAINTIFF'S ARGUMENTS

                                           Introduction

  The Defendant conflates and muddies the water in discussing the requirements of
  both Article III Standing and Prudential Standing. The Defendant cites a litany of
  cases where it is completely not analogous nor applicable. The Motion to Dismiss
  which hit the page limit ofthis court attempts to complicate an issue which is one of
  the basic concepts that is drilled into first year law students.
  The Plaintiff invites the court's attention to two cases which directly address the
  issues undifferentiated to the instant case:

  MENDOZA V.PEREZ,No. 13-5118(D.C. Cir. June 13,2014)(2014 WL 2619844)
           This case in its well detailed analysis on standing on labor certifications, states
  that a third-party intervenor has standing to sue. The issue presented and which the
  Defendant conveniently leaves out and fails in its analysis is that the Plaintiffis also
  asserting procedural rights under the APA. A procedural agency action that clearly
  threatens her concrete interest.

  And;                                 ^

  De Jesus Ramirez v. Reich, 156 F.3d 1273 (D.C. Cir., 1998) De Jesus Ramirez v.
  Reich, 156 F.3d 1273(D.C. Cir., 1998)
        This case exhaustively analyzes the Defendants standing in court in
  Permanent Labor Certification by the DOL without the Employer joining in the
  lawsuit. Though the decision was averse to the Plaintiffs, the reason for this was the
  Employer did notjoin in the Administrative Appeals process. In the Plaintiffs case,
  the Employer went above and beyond the traditional Administrative Appeals
  process.

                                     Article III Standing

  The Plaintiff has Constitutional Standing to bring this action in Federal District
  court.

  The Defendant sites this case to establish Article 111 standing,"to satisfy Article Ill's
  standing requirements, a plaintiff must show(1)it has suffered an 'injury in fact' that
  is(a)concrete and particularized and(b)actual or imminent, not conjectural or
  hypothetical;(2)the injury is fairly traceable to the challenged action ofthe
  defendant; and(3)it is likely, as opposed to merely speculative, that the injury will be


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  redressed by a favorable decision." Friends ofEarth, Inc. v. Laidlaw Environmental
  Services(TOC), Inc., 528 U.S. 167, 180-181 (2000).


         1. Plaintiff has suffered an 'injury in fact' that is concrete and particularized
            and actual or imminent


               The DOL in denying the Labor Certification application unlawfully
               has caused the Plaintiffthe inability to work past her current Hl-B
               working permit as well as depriving her the ability to apply for an
               adjustment ofstatus to a lawful permanent resident.

         2. The injury is fairly traceable to the challenged action ofthe defendant
               The labor certification represents the Secretary ofLabor's certification
               that there are no able, willing, qualified, and available U.S. workers
               for the position the alien seeks to perform on a permanent basis. The
               unreasonable denial has caused the injury-in-fact as stated above.
         3. It is likely, as opposed to merely speculative,that the injury will be
            redressed by a favorable decision.
               The approved labor certification will allow the Employer to continue
               the process ofsponsoring the Plaintifftowards her lawful permanent
               status adjustment,(see Exhibit 1)
                                  Prudential Standing

  Even when Article III constitutional standing rules have been satisfied, the courts
  has held that principles ofprudence may counsel the judiciary to refuse to adjudicate
  some    claims. The     Defendant cites Match-E-Be-Nash-She-Wish Band                   Of
 Pottawatomi Indians v. Patchak, which basically states that the rule is "not meant to
 be especially demanding,". Prudential Standing as the Defendant articulates is a
 judge-made concept. It is clear that the Court feels free to disregard any of these
 prudential rules when it sees fit. Warth v. Seldin, 422 U.S. 490, 500-501 (1975);
 Craig V. Boren,429 U.S. 190, 193-194(1976).
  The Plaintiff is well within the zone of interests. The Defendant is correct that the
  Labor Certification approval is vested to the Employer. In its analysis, the
  Defendant,though ambiguous due to the Defendants shifting opinions,contends that
  it is the Employer whose interests are protected by the regulation at hand. Where the

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  defendant fails in this analysis is that because the Plaintiff is the sole beneficiary of
  this application, she is well within the zone of interests.
  The Plaintiff also asserts procedural rights under the APA by challenging the En
  Banc Procedures by BALCA.To establish standing under this type ofchallenge, the
  Plaintiff simply must demonstrate a personal injury. In the instant case,the denial of
  due process by a biased tribunal, falsification of facts, failure of notifying the
  Employer ofthe substantive changes made in contravention ofthe Defendant's own
  rules, and the conspiracy ofthe Defendant in "stacking" an expected neutral court is
  clearly enough to establish standing.


 POL BALCA's "BenchBook" proves that the Defendant's Motion is Frivolous

  Attached as Exhibit 5 is a screenshot ofBALCA's Bench book Chapter 24,the link
  of which as of the date of this memo is still "alive" and can be found at:
  https://www.oali.dol.gov/PUBLIC/lNA/REFERENCES/REFERENCE WORKS/
  DBCH24.HTM

  BALCA Bench book Chapter 24 Part 1(B)(2) states the following in verbatim:
  2. Request for review by federal district court
  An alien has independent standing to seek judicial review of a denial of labor
  certification in federal district court. Mastroyanis v. United States Dep't of Labor,
  No. A88-089 Civil(D.C. Ala. May 5, 1989).
  The case cited is not published, the Plaintiff has attempted to procure a copy of the
  rulings from the Alaska Court, but it seems that the case has already been disposed
  of. Nevertheless, the Defendant's position on the Alien's standing is crystal clear
  here.

  The motion filed is therefore evidently a frivolous one. The Plaintiff asks the court
  for appropriate sanctions and hold the Defendant in contempt.


                             FOIA ISSUE IS NOT MOOT

  Exhibit 3 demonstrates the month's long and still continuing ordeal with the DOL
  to secure documents with regards to Harry Shienfeld's employment records. The last
  email ofwhich was sent on January 30,2019 was not responded to by the appropriate
  officials.

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 Further, the Plaintiff submits for the record Exhibit 4 as a collection of screenshots
 taken at the timestamps indicated. The original softcopies are available with the
 metadata intact to authenticate the dates if the court so orders them be produced.
 These show the DOT inappropriately manipulating agency records. Further, the
  contention of the Defendant that OASAM have fulfilled their duties is moot fails
  simply because the Plaintiff has not received these records. Furthermore, even
  without receiving the records, the testimony that there were only 8 pages that were
  responsive for an employee with more than 30 years of service, makes it a near
  certainty that those records are not complete and will be subject to appeal by FOIA
  regulations.
                                    CONCLUSION

  For the reasons above,this Court should find the Motion to Dismiss by the
  Defendant is without merit and frivolous. That in filing a frivolous motion, have
  shown contempt to this court. This court has jurisdiction because the Plaintiff has
  plainly shown that she has standing to bring this to this Court and the Defendant
  has already waived that the Plaintiff has standing to sue. The Plaintiff further
  requests relief that it deems fit due to the defamatory statements made by the
  Defendant.




  Respectfully Submitted and Dated: March 6,2019


                                                                         Ya-Wen Hsiao

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                         CERTIFICATE OF SERVICE



 The undersigned hereby certifies that on the date stated below, a true and correct
 copy of the foregoing document was duly served upon the following by USPS
 Priority Mail.


 Harry Yee
 PJKK Federal Building
 300 Ala Moana Blvd. Room 6-100
  Honolulu HI 96850
 USPS Tracking:9410 8036 9930 0106 5648 11

 Samuel P Go
  USDOJ/CIVIL/OIL/DCS
 P.O. Box 868
  Ben Franklin Station
  Washington,D.C.20044
  USPS Tracking:9410 8036 9930 0106 5648 04



  Ya-Wen Hsiao
  Dated: March 6,2019, Honolulu HI




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